                            Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 1 of 16 Page ID #:1



                   1         RICHARD H. RAHM, Bar No. 130728
                             rrahm@littler.com
                   2         KAI-CHING CHA, Bar No. 218738
                             kcha@littler.com
                   3         PERRY K. MISKA, JR, Bar No. 299129
                             pmiska@littler.com
                   4         LITTLER MENDELSON, P.C.
                             650 California Street, 20th Floor
                   5         San Francisco, CA 94108.2693
                             Telephone: 415.433.1940
                   6         Facsimile: 415.399.8490
                   7         Attorneys for Defendant
                             COVENANT TRANSPORT, INC.
                   8
                   9                                  UNITED STATES DISTRICT COURT
                10                                  CENTRAL DISTRICT OF CALIFORNIA
                11           TAMI LONG, individually and on             Case No. ___________________
                             behalf of all others similarly situated,
                12                                                      [Los Angeles Superior Court
                                              Plaintiff,                Case No. BC591375]
                13
                             v.                                         NOTICE OF REMOVAL OF CIVIL
                14                                                      ACTION TO FEDERAL COURT BY
                             COVENANT TRANSPORT, INC., a                DEFENDANT COVENANT
                15                                                      TRANSPORT, INC.
                             Tennessee corporation,
                16                                                      [28 U.S.C. §§ 1332, 1441 & 1446]
                                              Defendant.
                17
                18
                19
                20
                21
                22
                23
                24
                25
                26
                27
                28
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                             Case No. _________________                                    NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
                            Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 2 of 16 Page ID #:2



                   1         TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
                             CENTRAL DISTRICT OF CALIFORNIA:
                   2
                   3                       PLEASE TAKE NOTICE that Defendant Covenant Transport, Inc.
                   4         (“Covenant”) contemporaneously with filing this Notice, hereby effects removal of
                   5         the above-referenced action from the Superior Court in the State of California for the
                   6         County of Los Angeles to the United States District Court for the Central District of
                   7         California.
                   8                       This action is removed pursuant to the procedures found in 28 U.S.C.
                   9         sections 1441 and 1446, and removal jurisdiction is based on 28 U.S.C. section
                10           1332(d) (Class Action Fairness Act [“CAFA”]).
                11           I.    PROCEDURAL BACKGROUND
                12                         1.   This lawsuit arises out of the work performed by Plaintiff Tami
                13           Long (“Plaintiff”) as company driver for Covenant. On August 17, 2015, Plaintiff
                14           filed a complaint in the Superior Court of the State of California, County of Los
                15           Angeles, entitled Tami Long, individually and on behalf of others similarly situated v.
                16           Covenant Transport, Inc., a Tennessee Corporation, designated as Case No.
                17           BC591375 (“Complaint”). See Declaration of Kai-Ching Cha (“Cha Decl.”) ¶ 2,
                18           Exhibit (“Exh.”) 1. The Complaint asserts the following claims for relief: (1) Failure
                19           to Pay Separately and Hourly for Time Spent by Drivers on Rest Breaks, Pre- and
                20           Post-Trip Inspection Time, Waiting Time, Cleaning, Fueling and Paperwork Time;
                21           (2) Failure to Provide Paid Rest Periods and Pay Missed Rest Break Premiums;
                22           (3) Failure to Provide Meal Periods; (4) Failure to Provide Accurate Wage Statements;
                23           (5) Waiting Time Penalties; (6) Failure to Reimburse Business Expenses; (7) PAGA
                24           Penalties; and (8) UCL Violations. See Cha Decl. ¶ 2, Exh. 1 (Complaint).
                25                         2.   On August 19, 2015, Plaintiff served the Summons and Complaint
                26           on Covenant. See Cha Decl. ¶ 3, Exh. 2 (Proof of Service). A true and correct copy
                27           of the Summons and Complaint package served upon Covenant is attached as Exhibit
                28           1 to the Cha Declaration.
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                             Case No. _________________              2.                     NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
                            Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 3 of 16 Page ID #:3



                   1                      3.      On September 17, 2015, Covenant filed its Answer to Plaintiff’s
                   2         Complaint in the Superior Court of California for the County of Los Angeles. A copy
                   3         of Covenant’s Answer is attached hereto as Exhibit 3 to the Cha Declaration. See Cha
                   4         Decl. ¶ 4, Exh. 3.
                   5                      4.      Pursuant to 28 U.S.C. Section 1446(d), the attached exhibits
                   6         constitute all process, pleadings, and orders served upon Covenant or filed or received
                   7         in this action by it. To Covenant’s knowledge, no further process, pleadings, or orders
                   8         related to this case have been filed in Los Angeles County Superior Court or served by
                   9         any party.
                10                        5.      As of the date of this Notice of Removal, no other parties have
                11           been named or served with the Summons and Complaint in this action.
                12           II.   REMOVAL PROCEDURE
                13                 A.     Removal Is Timely Because Notice And The Accompanying
                                          Pleadings Have Been Filed Within Thirty Days.
                14
                15                        6.      An action may be removed from state court by filing a notice of
                16           removal, together with a copy of all process, pleadings, and orders served on the
                17           defendant, within thirty days of defendant receiving the initial pleading, and within
                18           one-year of the commencement of the action. See 28 U.S.C. § 1446(a), (b). Removal
                19           of this action is timely because this Notice has been filed within thirty days from
                20           August 19, 2015, when Covenant was served with the Complaint and first became
                21           aware this action was removable. See Cha Decl. ¶ 3, Exh. 2; see also 28 U.S.C.
                22           § 1446(b). As referenced above, this Notice also contains all process, pleadings, and
                23           orders that Plaintiff served on Covenant. See Cha Decl. ¶ 2, Exh. 1.
                24                 B.     Venue Is Proper In This District Pursuant To The Removal Statute
                                          And Diversity.
                25
                26                        7.      Venue is proper in this Court because Plaintiff originally filed this
                27           action in Los Angeles County Superior Court, located within the District and Division
                28           of the Court. See 28 U.S.C. § 1446(a). Venue of this action is also proper because
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                             Case No. _________________                3.                      NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
                            Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 4 of 16 Page ID #:4



                   1         jurisdiction is based on the Class Action Fairness Action of 2005 (“CAFA”), and the
                   2         action may be venued in a judicial district in which a substantial part of the events or
                   3         omissions giving rise to the claim occurred. See 28 U.S.C. § 1391(b). Plaintiff
                   4         alleges many of the operative acts took place in Los Angeles County. See Cha Decl.,
                   5         Exh. 1 at ¶ 3.
                   6         III.   REMOVAL JURISDICTION
                   7                A.    This Court Has Original Jurisdiction Under CAFA.
                   8                      8.     This Court has original jurisdiction over this action pursuant to the
                   9         CAFA because: (1) at least one member (if not all) of Plaintiff’s class is a citizen of a
                10           state different from Covenant; (2) Plaintiff filed a class action on behalf of a class with
                11           over 100 putative class members; and (3) the amount in controversy exceeds the five
                12           million dollars, exclusive of interest and costs. See 28 U.S.C. § 1332(d).
                13                  B.    Diversity Exists Because Plaintiff Is A California Citizen And
                                          Covenant Is a Citizen of Tennessee.
                14
                15                        9.     CAFA diversity jurisdiction exists if “any member of a class of

                16           plaintiffs is a citizen of a State different from any defendant.”              28 U.S.C.

                17           § 1332(d)(2)(A).

                18                        10.    Plaintiff alleges in her Complaint that she was at the time of the

                19           filing of this action, and is, a resident and citizen of the State of California. See Cha

                20           Decl., Exh. 1 at ¶ 5; see also, District of Columbia v. Murphy, 314 U.S. 441, 455

                21           (“place where a man lives is properly taken to be his domicile until the facts adduced

                22           establish the contrary”); Gutterman v. Wachovia Mortgage, 2011 U.S. Dist. LEXIS

                23           74521, *4 (C.D. Cal. Mar. 31, 2011) (plaintiff’s residence and ownership of property

                24           sufficient to establish his domicile in California).

                25                        11.    For diversity jurisdiction, a corporation is deemed a citizen of its

                26           state of incorporation and the state where it has its principal place of business. See 28

                27           U.S.C. § 1332(c)(1). Plaintiff’s Complaint concedes that Covenant “is a Tennessee

                28           corporation with its headquarters and principal place of business in Chattanooga,
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                             Case No. _________________                4.                      NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
                            Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 5 of 16 Page ID #:5



                   1         Tennessee, located in Hamilton County…” Cha Decl., Exh. 1 at ¶ 6. When this
                   2         action was commenced in state court, Covenant was, and still is, a corporation
                   3         organized under the laws of the State of Tennessee. See Declaration of Melinda
                   4         Askew (“Askew Decl.”) ¶ 2.         Covenant’s principal place of business, where its
                   5         corporate offices and headquarters which house its executive and administrative
                   6         functions are located, is in Chattanooga, Tennessee. See id. Covenant is a citizen of
                   7         the State of Tennessee, where it is incorporated and where it has its principal place of
                   8         business. See Hertz Corp. v. Friend, 130 U.S. 1181, 1192-93 (2010) (the principal
                   9         place of business is “where a corporation’s officers direct, control, and coordinate the
                10           corporation’s activities”).
                11                         12.   No party other than Covenant has been named or served as of the
                12           date of this removal.
                13                         13.   As set forth above, Plaintiff is a citizen of the State of California,
                14           while Covenant is a citizen of the State of Tennessee. See Cha Decl., Exh. 1 at ¶¶ 5,
                15           6. Complete diversity of citizenship exists because the named parties are citizens of
                16           different states.
                17                  C.     Plaintiff Alleges Claims On Behalf Of More Than 100 Putative Class
                                           Members.
                18
                19                         14.   CAFA provides this Court with jurisdiction over a class action
                20           when “the number of members of all proposed plaintiff classes in the aggregate [is
                21           not] less than 100.” 28 U.S.C. § 1332(d)(5)(B). CAFA defines “class members” as
                22           those “persons (named or unnamed) who fall within the definition of the proposed or
                23           certified class in a class action.” 28 U.S.C. § 1332(d)(1)(D).
                24                         15.   Plaintiff alleges her causes of action regarding a class of
                25           individuals who are or have been employed as truck drivers by Covenant who are
                26           California residents and who drove at least one route greater than 2.5 hours that began
                27           and ended in California over the last four years. See Cha Decl., Exh. 1 at ¶ 34. The
                28           time period in this lawsuit is defined in the Complaint as “the four (4) years prior to
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                             Case No. _________________               5.                      NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
                            Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 6 of 16 Page ID #:6



                   1         the filing of this action through the trial date.” Id. at ¶ 2. Because the Complaint was
                   2         filed on August 17, 2015, Plaintiff seeks to represent all Covenant truck drivers from
                   3         August 17, 2011 up to and through the trial date. See id.
                   4                       16.   Plaintiff alleges at “any one time during the Class Period,
                   5         Defendant employed a total of approximately 2,000 truck drivers who informed
                   6         Defendant that they were California residents and who drive [sic] some routes within
                   7         California.   Due to turnover during the Class Period, the total number of class
                   8         members is estimated to be 5,000.” See Cha Decl., Exh. 1, ¶ 7. In fact, there are
                   9         approximately 1,800 California-based putative class members as defined by Plaintiff.
                10           See Askew Decl. ¶ 4. This satisfies CAFA’s numerosity requirement. See 28 U.S.C.
                11           § 1332(d)(5)(B).
                12                 D.      The Amount In Controversy Is Over Five Million Dollars Based On
                                           The Damages and Statutory Penalties Sought By Plaintiff.
                13
                14                         17.   CAFA requires the “matter in controversy” to exceed “the sum or
                15           value of $5,000,000 exclusive of interest and costs.” 28 U.S.C. § 1332(d)(2). To
                16           remove a case from a state court to a federal court, a defendant must file a notice of
                17           removal containing a short and plain statement of the grounds for removal. See Dart
                18           Cherokee Basin Operating Company LLC v. Brandon W. Owens, 135 S. Ct. 547, 551
                19           (2014). When the plaintiff’s complaint does not state the amount in controversy, the
                20           defendant’s notice of removal may do so. See id. Defendant’s notice of removal must
                21           simply include “a plausible allegation that the amount in controversy exceeds the
                22           jurisdictional threshold.” Id. at 554; Ibarra v. Manheim Investments, Inc., 775 F. 3d
                23           1193, 1195 (9th Cir. 2015) (same). Evidence establishing the amount in controversy
                24           is only required when plaintiff contests, or the court questions defendant’s allegations.
                25           See Dart, 135 S. Ct. at 551. “[N]o antiremoval presumption attends cases invoking
                26           CAFA.” Id. at 554.
                27                         18.   “The claims of the individual class members shall be aggregated to
                28           determine whether the matter in controversy exceeds” this amount.             28 U.S.C.
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                             Case No. _________________               6.                      NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
                            Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 7 of 16 Page ID #:7



                   1         § 1332(d)(6). “In measuring the amount in controversy, a court must assume that the
                   2         allegations of the complaint are true and that a jury will return a verdict for the
                   3         plaintiff on all claims made in the complaint.” Kenneth Rothschild Trust v. Morgan
                   4         Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002). The ultimate
                   5         inquiry is what amount is put “in controversy” by the plaintiff's Complaint, not what a
                   6         defendant will actually owe. See Rippee v. Boston Mkt. Corp., 408 F. Supp. 2d 982,
                   7         986 (S.D. Cal. 2005); see also Ibarra, 775 F.3d at 1198 fn. 1 (explaining that even
                   8         when the court is persuaded the amount in controversy exceeds $5 million, defendants
                   9         are still free to challenge the actual amount of damages at trial because they are only
                10           estimating the damages in controversy).
                11                        19.   Covenant denies the validity and merits of Plaintiff’s claims, the
                12           legal theories upon which they are purportedly based, and the claims for monetary and
                13           other relief that flow from them. Nevertheless, and notwithstanding Plaintiff’s failure
                14           to allege the total damages claimed, the amount in controversy as alleged by Plaintiff
                15           exceeds the sum of five million dollars.
                16                        20.   Plaintiff alleges a cause of action for violating the Unfair
                17           Competition Law (“UCL”), Business and Professions Code section 17200, et seq. See
                18           Cha Decl., Exh. 1, ¶¶ 81-96.      Alleging a UCL violation extends the statute of
                19           limitations on Plaintiff’s wage and hour claims from three to four years back to
                20           August 17, 2011. See Bus. & Prof. Code § 17208; Cortez v. Purolater Air Filtration
                21           Products Co., 23 Cal.4th 163, 178-79 (2000) (four-year statute of limitations for
                22           restitution of wages under the UCL).            Plaintiff additionally seeks waiting time
                23           penalties under Labor Code section 203, which has a statute of limitations of three
                24           years. See Cha Decl., Exh. 1, ¶¶ 65-70; Pineda v. Bank of America, N.A, 50 Cal. 4th
                25           1382, 1935 (2010) (three-year statute of limitations for section 203 claim); Lab. Code
                26           § 203(b).
                27           ///
                28           ///
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                             Case No. _________________                 7.                     NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
                            Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 8 of 16 Page ID #:8



                   1                            a.     There Is Over $1.9 Million In Controversy Based On
                                                       Plaintiff’s Piece-Rate, Minimum-Wage Claim.
                   2
                   3                      21.   In her First Cause of Action, Plaintiff alleges Covenant’s piece-rate
                   4         compensation policy violated California’s minimum wage statute because it
                   5         compensated drivers only for driving and not for non-driving tasks. See Cha Decl.,
                   6         Exh. 1 at ¶¶ 40-41. Plaintiff alleges such non-driving tasks include cleaning the truck,
                   7         fueling, paperwork and time spent waiting while the truck was loaded and unloaded.
                   8         See Cha Decl., Exh. 1 at ¶¶ 11-14.
                   9                                   (1)   There Is Over $1.1 Million In Controversy For
                                                             Alleged Uncompensated Loading And Unloading.
                10
                11                        22.   Plaintiff alleges she, “like other members of the Class, typically
                12           waited up to 5 hours per shift while waiting to load or unload a truck, but received no
                13           separate and hourly pay for waiting time.” See Cha Decl., Exh. 1 at ¶ 12 (emphasis
                14           supplied). “Typically” is defined as “generally” or “normally,” and it is synonymous
                15           with “usually.” See www.merriam-webster.com/dictionary/typically.
                16                        23.   From August 17, 2011 through September 14, 2015, the average
                17           annual number of full-time equivalent employee (“FTE”) drivers during this period at
                18           Covenant was 307. See Askew Decl. ¶ 4. Likewise, during this period Covenant’s
                19           drivers, on average, worked five days a week, fifty weeks a year, or 250 days. See id.
                20           at ¶ 5. Since Plaintiff alleges she “typically” waited up to five hours a shift, Covenant
                21           will use the midpoint, or 2.5 hours, per shift. The average minimum wage during the
                22           putative class period is $8.40 per hour, which, for a 2.5 hour period, would be $21.00
                23           per day for waiting time (2.5 hours x $8.40 = $21). See Request for Judicial Notice
                24           (“RJN”), Ex. A. Based on the above, Covenant drivers worked 76,760 work days
                25           each year (307 FTEs x 250 days = 76,750 work days). For the four-year putative class
                26           period, this would be 307,000 work days (4 x 76,750). At $21 per day, there would be
                27           a total $6,447,000 ($21 x 307,000 work days).
                28           ///
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                             Case No. _________________               8.                      NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
                            Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 9 of 16 Page ID #:9



                   1                      24.   Plaintiff, however, has alleged Covenant drivers spend “[a]t least a
                   2         couple of times per month … driv[ing] routes that began and ended within the state of
                   3         California.” Cha Decl., Exh. 1 at ¶ 10. This means, at the very least, Covenant’s
                   4         drivers spend 24 full days a year in California (2 x 12 months), approximately 10% of
                   5         their time (24 days in California/250 work days = 9.6%). Assuming Covenant would
                   6         only incur liability when its drivers were in California, Covenant would have
                   7         approximately $644,700 in minimum wage damages. Labor Code section 1194.2
                   8         provides for liquidated damages for minimum-wage violations in an amount equal to
                   9         the unpaid minimum wages for a three-year period. See Lab. Code § 1194.2(a).
                10           Covenant’s total liability for waiting time would thus be $1,128,225 ($644,700 + [3/4
                11           x $644,700]).
                12                                     (2)   There Is Over $487,000 In Controversy For
                                                             Alleged Uncompensated Periods For Fueling.
                13
                14                        25.   Plaintiff alleges she, “like other members of the Class, typically
                15           waited one-half to 2.5 hours in order to fill up her their truck’s gas tanks, depending
                16           on how many other truck drivers were waiting to fill up.” Cha Decl., Exh. 1 at ¶ 13.
                17           To be conservative, Covenant will use the midpoint of Plaintiff’s range, or 1.5 hours
                18           per fueling stop, which, at $8.40 minimum wage, the average alleged compensation
                19           for each fueling would $12.60. See RJN, Ex. A.
                20                        26.   Based on Covenant’s records, Covenant truck drivers on average
                21           stopped for fuel 3.6 times per week throughout the putative class period. See Askew
                22           Decl. ¶ 7. At $12.60 per fueling stop, there would be $45.36 in compensation owed
                23           each driver each week ($12.60 x 3.6). Covenant’s drivers work on average 50 weeks
                24           a year and, with 307 FTE drivers each year, the annual liability would be $696,276
                25           (50 x 307 x $45.36). See Askew Decl. ¶ 5. For a four-year putative class period, there
                26           would be $2,785,104 in liability (4 x $696,276). However, because Plaintiff alleges
                27           Covenant’s drivers are in California at least 10%, the total lost wages for fueling stops
                28           ///
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                             Case No. _________________               9.                      NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
                       Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 10 of 16 Page ID #:10



                   1        would be $278,510. With liquidated damages for three of the four years, the total
                   2        liability would be $487,393 ($278,510+ [.75 x $278,510]).
                   3                                    (3)   There Is Over $300,000 In Controversy For Time
                                                              Spent Cleaning Trucks.
                   4
                   5                     27.      Plaintiff alleges she “and Class Members typically cleaned their
                   6        trucks 1 to 2 times per week, and spent, on average 1 to 3.5 hours per cleaning
                   7        session, including on their California routes.”      See Cha Decl., Exh. 1 at ¶ 14.
                   8        Covenant will use the average 1.5 times per week, with an average time of 2.25 hours
                   9        spent cleaning the trucks. At minimum wage, this would amount to $28.35 (1.5/week
                10          x 2.25 hours x $8.40) owed per week per employee for truck cleaning.
                11                       28.      Covenant drivers work approximately 50 weeks a year, and so
                12          there are 72,000 workweeks in the putative class period (307 FTEs x 50 weeks x 4
                13          years), which, at $28.35 per week, amounts to $1,740,690. See Askew Decl. at ¶¶ 4,
                14          5. Because Covenant drivers spend at least 10% of their time in California, the total
                15          alleged unpaid minimum wages for truck cleaning would be $174,069.                With
                16          liquidated damages equal to three of the four years, the total liability would be
                17          $304,620 ($174,069+ [.75 x $174,069]).
                18                       In summary, the total liability for alleged unpaid waiting time, fueling
                19          time, and cleaning time would be at least $1,920,238 ($1,128,225 + 487,393 +
                20          $304,620).
                21                                b.    There Is Over $700,000 In Controversy Based On
                                                        Alleged Missed Or Unpaid Rest Breaks.
                22
                23                       29.      Plaintiff’s Second Cause of Action is for failing to provide paid
                24          rest periods and failing to pay premium pay for missed rest periods. See Cha Decl.,
                25          Exh. 1 at ¶¶ 44-50.
                26                       30.      California law requires employers to provide paid 10-minue rest
                27          breaks for each four hours worked, or major fraction thereof. See IWC Wage Order
                28          No. 9; Labor Code § 226.7.          Plaintiff alleges that throughout the class period,
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                            Case No. _________________               10.                    NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
                       Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 11 of 16 Page ID #:11



                   1        Covenant failed to adopt a rest-break policy consistent with California law, and that
                   2        Covenant’s drivers were not authorized to take paid 10-minute rest breaks. See Cha
                   3        Decl., Exh. 1 at ¶ 15. Plaintiff further alleges that Covenant’s drivers, “[o]n a routine
                   4        basis … worked shifts that were longer than 10 hours.” Id. Finally, Plaintiff alleges
                   5        that, even if Covenant drivers took a rest break, it was not paid for, and therefore
                   6        subject to a one-hour premium for a missed paid rest break. See id. at ¶¶ 15, 49-50.
                   7        From these allegations, Plaintiff is alleging 100% liability: (1) Because no rest breaks
                   8        were separately paid, Covenant is liable for the separate hourly payment for the 10-
                   9        minute rest period; and (2) any rest break taken, because it was not paid, Covenant
                10          violated Labor Code section 226.7, and owes one hour of premium pay for each rest
                11          break. See id. See also Duberry v. J. Crew Group, Inc., 2015 U.S. Dist. LEXIS
                12          99171, * 7 (C.D. Cal. July 28, 2015) (100% violation rate may be based on allegations
                13          of a “uniform” illegal practice).
                14                       31.    Although Plaintiff alleges Covenant’s drivers “routinely” worked
                15          10-hour shifts, thus entitling them to two 10-minute rest breaks, because Covenant’s
                16          own records show that drivers, on average, worked approximately 7 hours a day,
                17          Covenant will assume entitlement to only one rest break per day. See Askew Decl.
                18          ¶ 5. However, based on Plaintiff’s allegations, every putative class member would be
                19          entitled to 10 minutes at their hourly rate for each day worked in California, besides
                20          one hour of premium pay for each day worked in California. See Cha Decl., Exh. 1 at
                21          ¶¶ 15-49-50; Lab. Code § 226.7.
                22                       32.    During the putative class period, Covenant drivers earned
                23          approximately $36,800 per year. See Covenant Rep. Decl. ¶ 6. Based on a 7-hour
                24          day, five days a week and 50 weeks a year, Covenant drivers worked on average 1,750
                25          hours (50 weeks x 5 days x 7 hours), which, divided into $36,800, is $21.03 per hour.
                26          See id. Plaintiff alleged Covenant’s drivers drive in California at least two days a
                27          month, or 24 days a year. See Cha Decl., Exh. 1 at ¶ 10. As there are 307 FTE drivers
                28          each year, there would be 7,368 days worked in California each year, or 29,472 days
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                            Case No. _________________              11.                      NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
                       Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 12 of 16 Page ID #:12



                   1        worked in California during the putative class period (307 FTEs x 24 days x 4 years).
                   2        A 10-minute rest break is 1/6 of an hour, paid at $21.03 per hour, or $3.49 per rest
                   3        break. If Covenant’s drivers worked 29,472 days in California, they would be owed
                   4        $102,857 (29,472 days x $3.49). In addition, Covenant’s drivers would be owed one
                   5        hour of “premium” wages for one missed rest period each day they were in California,
                   6        or $619,754 (29,472 days x $21.03), which, added to $102,857, would amount to a
                   7        total liability of $722,611 for rest periods.
                   8                            c.     There Is Over $37,000 In Controversy Based On Alleged
                                                       Missed Meal Periods.
                   9
                10                       33.    Plaintiff alleges in her Third Cause of Action that Covenant failed
                11          to provide 30-minute, off-duty meal breaks before the end of the fifth hour of work
                12          because Covenant did not have a California-complaint meal-break policy. See Cha
                13          Decl., Exh. 1 at ¶¶ 15, 51-58. Moreover, Plaintiff alleges that, even when drivers took
                14          30-minute meal breaks, if the driver was transporting a high-value load, he or she was
                15          required to stay with the truck during the meal period. See id. at ¶ 17. As such a meal
                16          period would not be duty-free, Plaintiff has alleged that all drivers of high-value loads
                17          would not have received a California-compliant meal break, and therefore be owed
                18          one hour’s of premium wages under Labor Code section 226.7. See id. at ¶ 19.
                19                       34.    Covenant estimates it carries “high-value” load approximately six
                20          percent of the time.     See Askew Decl. ¶ 7.     Based on Plaintiff’s allegation that
                21          Covenant’s drivers spent at least two days a month in California, the estimated
                22          liability would $37,185 ($21.03 per hour x 307 FTE drivers x 24 days in California x
                23          4 years x 6%).
                24                              d.     There Is Over $1.2 Million In Controversy Based On
                                                       Plaintiff’s Wage Statement Claim.
                25
                26                       35.    Plaintiff’s Fourth Cause Of Action alleges Covenant violated
                27          Labor Code Section 226(a) by issuing wage statements “which do not include total
                28          hours worked and all applicable hourly rates in effect during the pay period and the
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                            Case No. _________________                12.                    NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
                       Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 13 of 16 Page ID #:13



                   1        corresponding number of hours worked at each hourly rate for rest breaks and Non
                   2        Driving Tasks.” See Cha Decl., Exh. 1 at ¶ 62. Since section 226(a)(2) requires a
                   3        wage statement to show an employee’s total hours for the pay period, and section
                   4        226(a)(9) requires the wage statement to show all applicable hourly rates, each wage
                   5        statement issued by Covenant would violate the statute. The statutory penalty for
                   6        such a violation is $50 for the first pay period, and $100 for each subsequent pay
                   7        period, up to a total maximum penalty of $4,000. See Lab. Code § 226(e). Section
                   8        226(e) has a one-year statute of limitations. See Blackwell v. SkyWest Airlines, Inc.,
                   9        245 F.R.D. 453, 462 (S.D. Cal. 2007).
                10                      36.    Covenant pays its drivers weekly, and it therefore has 52 pay
                11          periods a year. See Askew Decl. ¶ 8. Under Labor Code section 226(e), an employee
                12          would be entitled to the maximum of $4,000 in penalties in his or her forty-second
                13          pay period. See Lab. Code § 226(e). The estimated amount in controversy related to
                14          Plaintiff’s wage claim is $1,228,000 (307 FTE drivers x $4,000).
                15                             e.    There Is Over $4.2 Million In Controversy Based On
                                                     Plaintiff’s Waiting-Time Penalties Claim.
                16
                17                      37.    Plaintiff’s Fifth Cause of Action is for statutory waiting-time
                18          penalties under Labor Code section 203. See Cha Decl., Exh. 1 at ¶¶ 65-70. Section
                19          203 provides for one-day’s wages for each day an employee who has separated from
                20          his or her employer is not paid all wages owed, up to a total of thirty days’ of wages.
                21          See Lab. Code § 203. Section 203 has a three-year statute of limitations. See id.
                22          During that time, approximately 961 putative class members have separated from
                23          Covenant. See Askew Decl. ¶ 4.
                24                      38.    Plaintiff has alleged a 100% violation rate in her first two causes of
                25          action. In her First Cause of Action, Plaintiff alleges Covenant compensates its
                26          drivers on a piece-rate basis, which pays only for actual driving time, and does not
                27          compensate for such non-driving activities such as “inspections, cleaning/fueling
                28          and/or paperwork/check-in and check-out and waiting time...” See Cha Decl., Exh. 1
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                            Case No. _________________              13.                     NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
                       Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 14 of 16 Page ID #:14



                   1        at ¶ 11. Likewise, Plaintiff has alleged Covenant does not separately compensate its
                   2        drivers for rest breaks. See id. Based on Plaintiff’s allegations, every class member
                   3        would be entitled to additional compensation, which would include those drives who
                   4        have left the Company.
                   5                     39.   Covenant estimates its drivers work approximately seven hours a
                   6        day, which, at $21.03 per hour, would be $147 per day, and would be $4,410 for thirty
                   7        days of wages.     See Askew Decl. ¶ 5.       Since 961 drivers have separated from
                   8        Covenant in the last three years, the total potential liability for this cause of action
                   9        would be $4,243,776.
                10                             f.     There Is Over $800,000 In Controversy Based On
                                                      Plaintiff’s Reimbursement Claims.
                11
                12                       40.   Plaintiff’s Sixth Cause Of Action is for failure to reimburse
                13          business expenses in violation of Labor Code section 2802. See Cha Decl., Exh. 1 at
                14          ¶¶ 71-75. Plaintiff alleges Covenant drivers are required to use their personal cell
                15          phones to remain in contact with Covenant dispatchers, managers and customers. See
                16          Cha Decl., Exh. 1 at ¶¶ 25-27. Plaintiff further alleges Covenant expects drivers to
                17          pay for cell phones in the discharge of their job duties and these expenses amount to
                18          between $10 per month to $100 per month per driver. See Cha Decl., Exh. 1 at ¶ 28.
                19          Assuming the average monthly business expense for a cell phone is $55, the estimated
                20          amount in controversy related to business expenses is $810,480 ($55 per month x 12
                21          months x 307 FTE drivers x 4 years).
                22          ///
                23          ///
                24          ///
                25          ///
                26          ///
                27          ///
                28          ///
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                            Case No. _________________              14.                     NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
                       Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 15 of 16 Page ID #:15



                   1                             g.   There Is Over $8 Million In Controversy, $3 Million
                                                      Over The Jurisdictional Minimum.
                   2
                   3                       41.   The aggregate amount exceeds the $5 million jurisdictional
                   4        minimum.
                   5
                                  Plaintiff’s Causes Of Action                       Amount In Controversy
                   6
                                  Unpaid Minimum Wages For Time Spent On             $1,920,238
                   7              Non-Driving Work Duties
                   8              Unpaid Rest Breaks and Rest Break Premiums         $722,611
                   9              Meal Break Premiums                                $37,185
                10                Wage Statements                                    $1,228,000
                11                Waiting Time Penalties                             $4,243,776
                12                Unreimbursed Business Expenses                     $810,480
                13                Total:                                             $8,962,290
                14
                15                         42.   The $8,962,290 total is over the jurisdictional minimum of $5
                16          million. See 28 U.S.C. § 1332(d)(2). This is before adding in an amount representing
                17          Plaintiff’s potential recovery of attorney’s fees and costs if she prevailed at trial.
                18          Plaintiff seeks attorneys’ fees for the first, fourth and sixth causes of action. See Cha
                19          Decl., Exh. 1, Prayer for Relief. The “amount in controversy” requirement under
                20          CAFA is satisfied.
                21          IV.   NOTICE OF REMOVAL TO THE COURT AND ADVERSE PARTY
                22                         43.   Contemporaneously with filing this Notice of Removal in the
                23          United States District Court for the Central District of California, written notice of
                24          such filing will be given by the undersigned to Plaintiff’s counsel of record, and a
                25          copy of the Notice of Removal will be filed with the Clerk of the Court for the
                26          Superior Court of the County of Los Angeles, California as required by 28 U.S.C.
                27          section 1446(d).
                28          ///
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                            Case No. _________________              15.                      NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
                       Case 2:15-cv-07317-R-SS Document 1 Filed 09/17/15 Page 16 of 16 Page ID #:16



                   1        V.       CONCLUSION
                   2                           44.      Covenant therefore removes the civil action filed against it in the
                   3        California Superior Court, County of Los Angeles, to the United States District Court
                   4        for the Central District of California.
                   5        Dated: September 17, 2015                          /s/ Kai-Ching Cha
                   6                                                           RICHARD H. RAHM
                                                                               KAI-CHING CHA
                   7                                                           LITTLER MENDELSON, P.C.
                                                                               Attorneys for Defendant
                   8                                                           COVENANT TRANSPORT, INC.

                   9        Firmwide:135855790.1 069683.1000

                10
                11
                12
                13
                14
                15
                16
                17
                18
                19
                20
                21
                22
                23
                24
                25
                26
                27
                28
LITTLER MENDELSON, P.C.
    650 California Street
         20th Floor
                            Case No. _________________                      16.                    NOTICE OF REMOVAL
     San Francisco, CA
        94108.2693
       415.433.1940
